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 4
     Attorney for Defendant
 5   MISUK MOORE

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 8                               IN THE UNITED STATES DISTRICT COURT

 9                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,
                                                               NO. CR-05-00447-CRB
12                             Plaintiff,
                                                               ORDER EXONERATING BAIL
13           vs.

14   MISUK MOORE, et al.,

15                             Defendants.
                                                      /
16

17           GOOD CAUSE SHOWN, based on the fact that on June 27, 2006 the Court dismissed

18   the above indictment with respect to Defendant MISUK MOORE without prejudice, IT IS

19   HEREBY ORDERED that her bail in the amount of $150,000.00 is exonerated. The three

20   properties securing this bail located at 12615 Silverglen Estate Drive, Houston, Texas, and

21   Damsite Village Lot 94, San Jacinto County, Texas, and Lake Livingston Village Subdivision

22   Sec. 14 Lot 211, Polk County, Texas, shall be reconveyed to the trustors.
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23   DATED: September 25 , 2006.
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25                                                   CHARLES R. BREYER DERED
                                                          UNIT




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     ORDER EXONERATING BAIL

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